'
                              Case 1:21-cv-22441-RNS
                                            f'
                                                     Document 48 Entered on FLSD Docket 09/09/2021 Page 1 of 5

    t
    '                     i
                3 s4pt:m b.r,2021 09:42
                         ' '
                                                       ;
                                                                           ,'
                                                                                                                                                                JF F>S.
                From :CZ'LSEriqson
                879 Chùrch Stfeet
                Cliçjtçr,Verm dilt05143-9375                                                                                                                 FILED BY              D,C.
                                                                                                                                                                      ; u.
                (8024675-4038
                                                                                                                                                                 SE? 23 2221 .
                Septetnbèr3,2021                                                                                                                                   ANGELAE.NOBLE
                                                                                                                                                                  CLERK U S DIST C7:
                                                                                                                                                                  s.().o!rfLk.-MiAMI
                To:Feder? JudgeRobertN .Scola
                U hited,StatesD iàtrictCourt
                Sotltv tnbiétrictofFlorida
                Wl'lkteb.Fersitson,Jr.U.S.Courthouse
                4oè N6ltth M /
                             'am iAvenue,8+ floor
                M iàm iJ.FL 33128
                         .. .

        '
                                     .   y'
                RE:'DONM
                    :.
                     . .    D TkK pv.TW IW ER INC.
                                     ,                                 ,
                                                                                           .

                Casé 1:ài-cv-22441-RNS
            '


                Reqgèstto Court:              ,
                (             . ''                                                     ,                   ,

                Re4uestforaSùb-classin thisClassAdion lawsui.tuj.
                             ' ..                  .       .       .           .   ,                                  . .       ..       .          .
                     Jl .                                                  '       .
                                                                                                    ,.... . .. '.- . - .            .'' . '             .'
                                                                                                                      .,

                Stàtèp entofFad s:

                W hil:
                      e I.W ason the
                                  .
                                     oo cialelection
                ballotipVerm tmt,afterwinninga Statewideprim ary
                çlqstioq ajaProgressivePartyemndidate,
                (PrbtrpsswePà+ isamajorpoliticalpartyinVermont),
                and piiortotlfrNov.3,2o20 generalelçctipp,
                rlv iitètcàtloWedmeto1ogin,butthen refugedio
            A1lbF :11petopùs!iweets,thereby hnrmingmy
            chajqiç:o/beiAg elected topolidcalom ceby censotinglne.
                                                                           ,           '
                                                                   '       '                                     '    '
        .                                                      .                           .                                         .

                Ftom                     FhatIcpp !eeonthçinternet,ihistyprof
                                         ,


    .
            ckùsoràlzip ofà politicalcandidate who w on a prim ary
                                     .         '

            electifm ,butwaàèensoredbeforetheNov.3,2o2o
                                     .

            gçqetvleleciidn:
                           in Florida,m ayin facthavehappened
            to2oàp
            .   J.''
                     Fe
                     .
                     .
                       pùbl
                        '.
                           kancandidateLaur
                                          .
                                            aLoomerinKorida.       '
                                 .


            Itishàrdformetolndotherpoliticalcandidateswhowere
            çepp fedàeforèà'VtatePrimaryElection ora               .

            Gèhekk
                 è
                 '
                   lXl.eétion..be
                         .     .
                                 cause.Inm. cens
                                     ..       .
                                                oredby  socialmedia.
                                                    . . . .,,:..' .
                :e , - ;
                       ,                     '' :
                                             . ..              ,'          l:' .c              ..              , .:         .   .                - ' .. J2
                 ,           .                                                                                                               .


                BçqauseIwasèensoredby socialm edia
                bçforethrNùv.3,2o2o GeneralElection
                inlvéypp nt,Jcppld notreach absentee write-in voterswho
            flçe.vètm ohtin/utymnbeforetheelection andwinterinFlorida.
                         ':                    '
'                                          '
                .
                .                             $..
                                                :' .
            .
                c.                     Case
                                       ,.jr,.,.f:.
                                      y;                                  1:21-cv-22441-RNS Document 48 Entered on FLSD Docket 09/09/2021 Page 2 of 5
        +.:
          ..                                  ,(.
                                                (                                         ,
                     tluiFijd
                         .'
                            .iètion:
                            i-                                  .
                                                                 :'.
                                                                         .
                                                                                   '
                                                   .
    ?(
    .
     -                                         '
        '
                     tf'ki.y
                           .i jim è.àndçorrectthat
                     .

                     Rkpubl ;.r 'a    ..

                                il.g..-
                                 .
                                          ,.ù cahdidatein Florida,
                                      p >q2                                                         ,
                                                                                                                                     2 f//ys.
                     tkyù-tltïijpx
                                -ilèl'àwascensoredbysocialmedia
                     jz
                      ytiàii
                         y,r
                           (ùi
                            y.
                             y:ih
                                .yNov:a,2o2o generu osouou
                    'àfiet,âlièFo:thepriparyelection inherDistrict
                     ''

                     ('
                      )tf*l 6'
                             g,/
                               r
                               i.t.u(s'
                          t)ë:'Ty
                                      rI./.s.congress/Republicap;    ,        ..
                                                                                   .




                    7élké'tlkkd(tlw rjsm:cpmplaintasIhaveof
                .. . ..                   .
                                              ..
                                               -
                                                   .                          .


                )wlé'Ctjlilèjpiqwi .dePdmaryElectionandbeing
                 yxkiàtè/dy:x.
                             4>i'tötheGeneralElection
                     ('
                      it
                       i
                       l
                       '
                       y?ik.
                           t
                           .Lit
                              '
                              .li
                                '
                                :ö
                                 '.ug
                                    .ù-ï
                                      '
                                       ..wàsontheballotasavermont
                     .
                     Pftsg'
                          t'
                           q
                           tà/itkPaik
                             .
                                 '  tyçandidate-thebasic
                                     rr..' , .ë : ' '
                îcpnjljtja
                      y.:'
                         (y
                           ihtdfpôliiicalcensorship isthesnme-)
                             .                -,                     .-
                                               r.                        ..




                     Wçf
                       b,
                        rj1$r
                            è
                            lo/tpDçmocratsandthereforethis
                     Mllçgç àthéljléby socialm ediatohelp
                    'bep'yc
                          - ykt,wirt,
                                    bycensoringsomeothercmndidates,
                     tz'
                       hày'
                          V ikygktèAujeofactionfortheCourttocreate
                                                   .

                     wpb /ik
                          ; :inihecaseofDonaldTrumpv.Twitter.
                       : rL1
                                                            r '.                   .'          '        .

                '
                                      ' #..:.; .
                                      (
                     Iizàlz
                     .
                          A  rgpmélztforaSub-class:
                          (!..   .. ''. ?                       ..       .. .         '
                                      ..           )
                                      .       t)''
                 Titttl  ,4y'   u.s.c.section2aoforbidsviolations
                 o'
                  ttqdè f't.
                             fytèrimihallawsand
                 '
                 l'Q tvk   Elt
                             .'kp,pqgzy'yo'haveallegedlyviolated
                                                        .



                :lédèf'k  .Lfttéçuowtaws:
                 jjj
                   G
                   '
                   :;:'
                      ij
                       :jfj
                         ($
                          ..t'
                             t
                             (i
                              lj
                               '''yl
                                   yyj
                             :. lt :
                                 ..
                                     ':jùj
                                         'j6o0aud           .                      ..          . ..         .

                's2ttrjttEr.spcfitjn3o121(a)(1)(A).
                    ..*-*. '.'
                             ..à.' . , z                                  ,
                             Z                     ..
                                                        (
                     snyxt
                         .ï
                         i ')F
                           i
                          ..:.
                              :
                             ..
                               èd
                              r.,
                                 qtàlçlectionlaws
                                ..
                     clèk
                        k?
                        iiqihclpdeFèdqral,Stateand
                     lpè #çu ètiyfjs.,a erefore!therem aybe
                     qfljè,rày
                             àz8.pollijcalwcsandldateswhofallintlw
                  èjèrypfliyèthgwonanyFederal,State
            ' P,f
                .i ùQ
                   '
                  n('   q7
                     .,., ;Piil
                              imrkelection orgeneralelection             ..       .            . ,
             iifviiy  .jjàiéùftheUnitedstatesofAmerica,
              aùJ.dz
                   rwjktj. :ye
                  ' .J.g. w .
                         .                     .

                     cètiàiftétttoilspcialm ediabeforeaprim ary
                    or,gè
                       7
                       .'j'gp yejçcti4n,inviolation offederal
                J
                :
                .
                Ej'lé'
                     t
                     )
                     j't
                       ,4t
                         'ilà
                            ,Fs.          ,
                                                                 ... .


                                 $)
                    Ap4
                     . . lpgyjètheCourtand requestforavariancein Rules:
                      y,xk ,, y
                         , ,
                                           ' .I
                                      .



                     i.àliîqiùyt'
                             .
                                yifImigùtbevioladngFederalRulesof
                                     :                  .                ,                    . .

                 civii#lèèidukéaildLocalRulesbysendingaletter,
                 goy(
                    '
                    1'jdtktj' prqayl    àfjasceinRulesbecause
                'Iyàz
                    zt' zsjiro atiorpçy.IftheCourtwantsto appoint
                             ,                                       z

                 aèài
                    ) @
                       itblekli
                      ,'.TY 2,
                         ..
                             .
                                 tigAtiop/multi-districtlitigation
                                .' .''-''.                  ..                     .
                                               .
                                               .. '
                                   .   Case
                                       ; y ' 1:21-cv-22441-RNS Document 48 Entered on FLSD Docket 09/09/2021 Page 3 of 5

         .
             '       élqdl4àlpw spvciaïistAttorheytorepresentme
                         .

    4 apyL..iypq
          pr   zdivesub-clàssmembers   .


                  pm
                  f -bppcjtcohtinkencyfeèprllyuponwinninga
                                           ,



             .
                   i!àaf
                       tklàlsçtilelent),
                  thài'Fp
                        ,.uldbe
                              . gréatly apprçciated.
                                                                                                        N//rJ4
                             . :.!             :.
                                               .
                             ,



                  Juytbktàùm Ithipk Iam expressing avalid com plaint
              dhpkthoixhèan Iam qualifedtolitigateitonmyown,
              pqriitiil:rlysincetheremaybeother2o2o candidates
              ovilihèfkwiththesamecomplaintaddinguptosignilemnt
                                   ,

             'iptçkviqilceippprelectionpmcqssintheU.S.A.
                 $yitpèiàlp qdiaten.orshipofsomecandidates
                         '
                                                    .

                 *hl
                  ,l
                   E'
                    j
                     lèk
                    ,'è
                         iltlliahqpuslynotcensoringothers.
                       .,:-             .
                                       ..
                 .
                     Itis:ll
                           km
                            t.e:lb getatthe rootsof
                                  .




                      disàatijfyction/eoplèhàvewith the
                     eléçtbq'
                            /roéesàintheU.S.A.
                     '
                     tablkttAutloéties ,,. ,,.g. , .               .
                                                                   . .



                  Tijr
                     lé.;( .S.C.Section 600:
                        ;i8 U.
                                           .




                  W hcùp
                 ..
                          ' r,rdtrkçtlyorindirectly,promisesany
                  V'nej)'s$
                          '
                          dt,pr
                              .pvidkdforormadepossibleinwholeor
                  ihpatibyânyActofCongress,
                  (.jtptzépkTltle47U.S.C.section230)
                                       ...,

                 tpl, , ypèr
                    àiz     qpzi
                  (T1W 1qrtlliE k isàcorporate Rperson'
                                               ,
                                                ,
                                                       ')
                                                        .

                  aàçpi 'i'qidèpttpnfpranypoliticalactivity
                                                        , ,
                  (:litiis
                     r3g   j
                           .t
                       : ,k( jçqn' sdrihgapoliticalcanidate)in
                  4#,
                    p # 9,1ttjauy candidate
                                       ,

                  ùtApfrptjl3 't4ca1party
                  ii è
                     '(jhùètytioilwithanyprimary
                     .       '
                                 . r:,...                  .   .             .
                  pra
                  '  k
                     'qktptalelçctipn
                             t.        . .. 's..           '

                  toaiïyppùdèalom ce
    r s.
    q.
       h)àl
          r
            l$è5f
                w4.tjRdprthis1i.lle..-
                 '
                 .                         .
                                                      '
                                                    .. -

                                           .
                                           ..  :
                                               ';.                       .
                                                                         .

                 'riitèljà,u.siè'.sçctionao121(a)Prohibition.
                  It:
                    '
                    éklbèpiuàèf'
                               ulfot(1)aforeignnational,
          Xo iie,l.yàllçgè(jjyearxismoneysom joxjgnnauonals
         'àkkiià'll-
                   èj
                    'Jdly.dpèsnotsegregatethefunds)
          dikèiilfptl
                  ':
                     .
                      .izdk
                          ,iectly,tomake(A)acontribuuon
                             '. %               .
                 ozi.,     pisvittliingqfvâlue(censoringe>ndidates
                         èxizpfèting
             '
                 t-        foreleciedpoliticaloffcéisof        .


                 vâlùè,tùjhepppo:ingcandidateswhoarenot
                 è# kpr
                      'k'd)ix?qopheèuo  'nwitha
                 Fébéiat?ys.iate,vo!-localelection;...
                  .                . . ..
                                       .        ,




                  Titlçy47
                        .
                          U iS-
                              .C.Section 230 prohibitsviolations
                                                        .

                  6faùvfederaj, èum sajjaw.
.   'd                   '        ..            .. . '
                                                '
.   '
    '            ..                 .
         ,
                                           .
                     '
                 .
                     Case2 1:21-cv-22441-RNS Document 48 Entered on FLSD Docket 09/09/2021 Page 4 of 5
  ju19c:1assçs
!
i he y:q  //-        ylàw.cornexoedu/mlles/ocp/- le 23
         Rùlè'kj.dasàAetions(c)(s)subclmsses.
                     .     #                     ,             ,                                       SF f'
                                                                                                           zyd
     '
         W lwp appm priate,aclassm ay bedivided
         inipiqybèlajsesthat:reeach
         treàièdàéaclassJm derthijrule.
         .
                            ''.
                              .




         Sum hm ry:
 '


         IttheCourtwonldallow asubclassof
     -
     -.  !âpdidapswhowereon theprim ary
         :7
          :  .           .. .

         (j?-ggiîèi'âleiêctioù ballots in theirStates,
                     ''                '' '
                                                 '     '
                                                           '   -
                                                               ' '
     .

     '
          bufWtïowéresçnsoredbysocialmedia,
                                   .



         ,thehi
              t
              ihàtWöùldhelp bringpublic
         xttèivtî4tttotheèröblem ofsocialmedia
                                        -

         hakiik,allèkkdlywàytoomuchcontrol
                          ':.*.
                              .'
                               #            '   *'
                                                 ...
                                                   #

             t,hé ppttpp esofoureledionsin the U.S.A.,
         oyèri
         dùàtfoyingdehmcracy.
             .'           .'.
                            . '.                 .
                                                                     --..-..-..---------------------

                                                                     .'ikI                :j;j
         Ctiààricsop (8p2)875-4038
             '
             y            J                                .
                                                                     X -*L% COC7
           e ats aA/av>
            &zg Case             c horch          1:21-cv-22441-RNS
                                                      s':              Document 48 Entered on FLSD Docket 09/09/2021 Page 5 of 5
         Z'7a A'.      % .+. s F T, os?9B
 . );x.s;.. Aje jpeqjrjj;;;;;.y.k;:jjjrm....p,'xr           -
                                                               -?3nW .
                              -. '*' ..--,
                                         ./1h -.           ., I
               ''                                                     .
'
..         ....
                    -2 ...,.'
                    .
                            .                      -..v,
       '                                                          '
 '
  ( /:.q
'--
                          .                                       -
  ;-. ---!F,
 ..-       r;;.
              :.          .
.
       qa
    . .,




                                                                                      1 NJ
                                                                                         J a f /e.#+ &co/q
                                                                                Fe
                                                                                 aJery     lee. A .
                                                                                                  z oé&- p,p.                       .


                                                                                  .   s.n % Sou I (2 R c oayy ops           .
                                                                                W ,/&.. p,î v ouono
                                                                                  .
                                                                                                       s s ptoo.   .
                                                                                #o : N orn m t'
                                                                                              o-iX - uek
                                                                                A ia- p' FL ,J/A&
                                                                                           .




                                                                                           l! (,:;
                                                                                               ..   1.'7...t.,) !
                                                                                                 : .s
                                                                                                    .         . .1y1t!
                                                                                                                   ;: i.);.,j
                                                                                                                     ;:     g!
                                                                                                                            .-1l ;'')
                                                                                                                              ;:.   .l
                                                                                                                                    .
                                                                                                                                     .)11'
                                                                                                                                      .; l ''
                                                                                                                                            :'k'
                                                                                                                                               j.
                                                                                                                                                )
                                                                                                                                                ',.
                                                                                                                                                  t.
                                                                                                                                                  .'..
                                                                                                                                                     ,.
                                                                                                                                                      '
                                                                                                                                                      ).
                                                                                                        .---...

                                                                              USM S                           .j'.'4.   .
                                                                                                                                           upa
                                                                                                                                          m.



                                                                          IN S P EC TE D                R E C E lV E D                  YE
                                                                                                                                         ??,18.
                                                                                                                                              212'
                                                                                                                                          +
